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                                                                                                    FILED
                                                                           2ND JUDICIAL DISTRICT COURT
                                                                                        Bernalillo County
STATE OF NEW MEXICO                                                                      7/1/20211:54 PM
COUNTY OF BERNALILLO                                                              CLERK OF THE COURT
IN THE SECOND JUDICIALDISTRICT COURT                                                        Patricia Serna

Haley TUCKER,
           Plaintiff,
                                                                     D-202-CV-2021-03997
                                                              No._________
       v.

UNIVERSITY OF NEW MEXICO
BOARD OF REGENTS;
UNIVERSITY OF NEW MEXICO SCHOOL OF LAW;
DEAN SERGIO PAREJA, in bis official capacity,
         Defendants.

                     COMPLAINT TORECOVERDAMAGESDUE TO
                         DEPRIVATION OF CIVIL RIGHTS

                                 JURISDICT ION AND VENUE
       Plaintiff brings this coµiplaint under Title IX of the Educational Amendments of 1972 (20

USCS § 1681), The Clery Act and amendments to lligher Education Act of 1965 and U.S. Const.

amend. XIV, 42 U.S.C. § 1983, NM Const. Art. II. Sections 4, 17, and 18, and the New Mexico

Civil Rights Act, 2021 N.M. ALS 119, 2021 N.M. Laws 119, for damages resulting from the

Deprivation of Civil and statutory Rights inflicted upon her by Defendants. The court has

concurrent and original jurisdiction of this action (28 U.S.C. Sec. 1343, Martinez v. California,
444 U.S. 277, 283 n.7 (1980)) and of the p�es. Venue is proper in this judicial district as the

incident complained of occurred in this district. Plaintiff alleges as follows:

                                             PARTIES

1.     Plaintiff is a resident of Los Lunas, New Mexico. She is a citizen of the State of New

Mexico and a citizen of the United States ofAmerica.

2.     Plaintiff studied law at the University of New Mexico School of law from 2017 to 2018

                                                  I



                                                                                      EXHIBIT A
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